Case 4:24-cv-01527   Document 1-2   Filed on 04/25/24 in TXSD   Page 1 of 52




             Exhibit A
Case 4:24-cv-01527   Document 1-2   Filed on 04/25/24 in TXSD   Page 2 of 52
Case 4:24-cv-01527   Document 1-2   Filed on 04/25/24 in TXSD   Page 3 of 52
                                                                                                               Filed
  Case 4:24-cv-01527         Document 1-2       Filed on 04/25/24 in TXSD        Page 4 of 52 3/5/2024 11:32 AM
                                                                                            Beverley McGrew Walker
                                                                                                        District Clerk
                                                                                            Fort Bend County, Texas
                                                                                                  Alvi Aimen

                                            24-DCV-313877
                                Cause No. _________________

NORTH AMERICA MACHINERY LLC,                 §     IN THE DISTRICT COURT
                                             §
       Plaintiffs,                           §
                                             §
VS.                                          §     OF FORT BEND COUNTY, TEXAS
                                             §
SPEAK2VOICE LLC and RAHIM                    §
RAJWANI,                                     §
                                             § Fort Bend County - 400th Judicial District Court
       Defendants.                           §     _____ DISTRICT


  PLAINTIFF’S ORIGINAL PETITION, APPLICATION FOR TEMPORARY RESTRAINING ORDER,
                        JURY DEMAND, & RULE 193.7 NOTICE


TO THE HONORABLE COURT:

       COMES NOW Plaintiff North America Machinery, LLC complaining of Defendants

Speak2Voice, LLC (“Speak2Voice”) and Rahim Rajwani and seeking a temporary restraining

order and injunction, and for causes of action respectfully shows as follows:

                                  A. Discovery Control Plan

       1.      Plaintiff intends to conduct discovery under Level 2 of Texas Rule of Civil

Procedure 190.3 and affirmatively plead that this suit is not governed by the expedited-actions

process in Texas Rule of Civil Procedure 169 because Plaintiff seeks monetary relief over

$250,000.

                                      B. Claim for Relief

       2.      Plaintiff seeks monetary relief over $1,000,000. Tex. R. Civ. P. 47(c)(4).

       3.      Defendants agreed to purchase cranes from Plaintiff for delivery to Defendants’

customer in India. When the cranes arrived in India, Plaintiff released the cranes upon Defendants’

promises to pay for the equipment, supported by checks made payable to Plaintiff in the promised




                              Electronic Certified Copy
   Case 4:24-cv-01527        Document 1-2         Filed on 04/25/24 in TXSD         Page 5 of 52




amounts. Defendants received payment for the cranes from the end customer. Defendants

pocketed the sums received from Defendants’ customer. Defendants’ checks made payable to

Plaintiff were returned for insufficient funds when deposited.

        4.     Plaintiff seeks to recover the promised sums from Defendants under theories of

contract, fraud, fraudulent transfer and misrepresentation.

        5.     Plaintiff seeks a temporary restraining order, injunction and/or receiver with respect

to sum received by Defendants from the third-party for the equipment sold to Defendants by

Plaintiff.

                                            C. Parties

        6.     Plaintiff is a corporation formed and existing under the laws of New Jersey, with

its principal office located at 55 Carter Drive, Suite 201, Edison, New Jersey 08817.

        7.     Defendant Speak2Voice is a domestic limited liability company with its principal

office located at 5024 Bellevue Falls Lane, Sugar Land, Texas 77479. This defendant may be

served through its registered agent, Mr. Rajwani, at its registered office, 5024 Bellevue Falls Lane,

Sugar Land, Texas 77479.

        8.     Defendant Mr. Rajwani, an individual residing at 5024 Bellevue Falls Lane, Sugar

Land, Texas 77479, may be served with process at his residence.

                          D. Tex. Civ. Prac. & Rem. Code §30.014(A)

        9.     Plaintiff has not been issued a driver’s license. Plaintiff has not been issued a social

security number.

                                          E. Jurisdiction

        10.    This Court has jurisdiction over this matter because the amount in controversy

exceeds this Court's minimum jurisdictional requirements.



                                            Page 2 of 17

                               Electronic Certified Copy
    Case 4:24-cv-01527            Document 1-2           Filed on 04/25/24 in TXSD               Page 6 of 52




                                                    F. Venue

         11.      Venue is proper in Fort Bend County under Texas Civil Practice & Remedies Code

§ 15.002 because all or a substantial part of the events or omissions giving rise to the claim

occurred in this county, Mr. Rajwani, a natural person, resides in this county, and Speak2Voice

maintains its principal office in this county.

                                                     G. Facts

         12.      Mr. Rajwani and his wife are serial corporate filers and entities created by them

have been used to commit fraud on unsuspecting parties. 1 Previously, through a company named

B.R. Crane & Equipment, LLC, Mr. Rajwani obtained industrial equipment upon a promise to pay

for same. He then sold the equipment and pocketed the proceeds without ever paying for the

equipment. 2

         13.      Mr. Rajwani used Khimsons Enterprises, Inc., Twin Logistics and B.R. Crane &

Equipment, LLC to avoid fairly compensating employees for hourly wages and overtime. 3

         14.      Mr. Rajwani used B. R. Crane & Equipment, LLC to sell industrial equipment it

did not own so that Mr. Rajwani could pocket take $250,000 from an unsuspecting buyer. 4

         15.      Since 2020, Plaintiff and Mr. Rajwani and his companies engaged in various crane

and equipment transactions. Through the course of the transactions, Mr. Rajwani earned Plaintiff’s




1
  Mr. Rajwani and his wife have formed at least 12 entities, including (1) Khimsons Enterprises, Inc., (2) Gift & Home
Accent, Inc., (3) BKR Crane & Equipment Ltd., (4) Twin Logistics LLC, (5) TLD Global LLC, (6) TLD Estate Group
LLC, (7) Budget Software Inc., (8) B R Crane & Equipment LLC, (9) Star Lifters LLC, (10) Speak2Voice LLC, (11)
Luxury House Direct LLC, and (12) United Jubilee Properties LLC.
2
  See Cause No. 2019-13197, Kohinoor Crane Service v. B.R. Crane & Equipment, LLC, 333rd Judicial District, Harris
County, Texas.
3
  Case No. 4:13-cv-02650, Ansari v. Khimsons Enterprises Inc., United States District Court, Southern District of
Texas.
4
  Case No. 4:17-cv-03347, Servicios Misiones S.A. de C.V. v. B.R. Crane & Equipment, LLC, United States District
Court, Southern District of Texas.

                                                   Page 3 of 17

                                    Electronic Certified Copy
    Case 4:24-cv-01527           Document 1-2          Filed on 04/25/24 in TXSD             Page 7 of 52




trust and confidence. Based on the course of dealings and trust built between the parties, Plaintiff

agreed to a million-dollar crane and equipment transaction with Mr. Rajwani.

        16.      To that end, Mr. Rajwani used Speak2Voice to purchase cranes from Plaintiff and

then sell that same equipment onwards to end customers. Specifically, in a series of transactions

from February 28, 2023 through February 11, 2024, Speak2Voice promised to pay to Plaintiff the

sum of $1,279,371.58 for various cranes and equipment, delivered to India. 5 The end buyers of

the cranes and equipment were (a) Universal Cranes and Equipment and Plaintiff agreed to pay

30% of the price for the cranes and equipment upon shipment to India and 70% of the price upon

delivery.

        17.      However, Speak2Voice did not pay for the cranes and equipment as agreed. The

cranes and equipment were shipped to India as promised by Plaintiff. Speak2Voice failed to pay

70% of the purchase price upon shipment. When the cranes and equipment arrived in India,

Plaintiff refused to release any of the cranes and equipment without payment. Accordingly,

storage charges commenced to accrue on the cranes and equipment at the port of arrival in India.

        18.      Speak2voice purposely requested the parts (counter-weights, loafers, jib, etc.) to

ship in shipping containers separate from main bodies of cranes and his modus operandi is he made

the plaintiff to release the parts on the pretext of giving complete payment once main machine

arrives. So, by doing this, parts of the crane went to consignee and Plaintiff remains with main

machines in hand which make those machines worthless, because either Plaintiff nor consignee

can resell the machine to recover the funds.




5
  Attached as Exhibits A and B and incorporated by reference are true and correct copies of statements reflecting
cranes and equipment sold to Speak2Voice.

                                                 Page 4 of 17

                                   Electronic Certified Copy
    Case 4:24-cv-01527            Document 1-2          Filed on 04/25/24 in TXSD              Page 8 of 52




          19.    As storage charges accrued, Mr. Rajwani tried to renegotiate the purchase of the

cranes and equipment, now seeking to pay substantially reduced amounts for the cranes and

equipment instead of the previously promised sums.

          20.    Eventually, as Plaintiff was being forced to pay ongoing storage of the cranes and

equipment, Speak2Voice, Plaintiff and the carrier of the cargo, Best International Cargo, entered

into a settlement agreement dated January 28, 2024 whereby Speak2Voice promised payment to

Plaintiff in the total amount of $900,000 to release certain of the cranes sold to Speak2Voice. 6

          21.    To secure the payments under the agreement, Speak2Voice provided Plaintiff with

business checks made payable on future dates as agreed under the settlement agreement. 7

          22.    Based on Defendants’ promises of payment and assured by the checks made by

Speak2Voice, Plaintiff authorized the release of most of the cranes and equipment to the end

buyers.

          23.    Unknown to Plaintiff at the time, Defendants never intended to pay the sums

promised under the settlement agreement and only made the false promise of payment with the

intent to induce Plaintiff into agreeing to release the cranes and equipment to the end buyers in

India.

          24.    Plaintiff never received the first promised $500,000 under the settlement agreement

despite Mr. Rajwani’s representation that the payment had been made. The February 7, 2024

payment in the amount of $100,000 was returned for insufficient funds. Mr. Rajwani ordered a

stop payment on the February 24, 2024 check made to Plaintiff in the amount of $300,000.




6
 Attached as Exhibit C and incorporated by reference is a true and correct copy of the settlement agreement.
7
 Attached as Exhibit D and incorporated by reference are true and correct copies of checks made payable to Plaintiff
by Speak2Voice.

                                                  Page 5 of 17

                                    Electronic Certified Copy
     Case 4:24-cv-01527             Document 1-2           Filed on 04/25/24 in TXSD              Page 9 of 52




Ultimately, Plaintiff received none of the sums promised by Defendants under the original sales

agreement and the subsequent settlement agreement.

           25.      Upon the failure of the payments, Plaintiff successfully stopped the release of 2 of

the cranes, and these remain in India accruing storage charges.

           26.      Defendants falsely represented to Plaintiff that that initial payment under the

settlement agreement was made by presenting a deposit receipt showing payment in the amount of

41,500,000 Rupees (approximately $540,000) from Universal Cranes and Equipment, on behalf

of Speak2Voice, to Plaintiff through Plaintiff’s local designee, Maple Maritime Pvt. Ltd. That

payment never occurred. 8

                                         H. Count 1 - Claim for Fraud

           27.      Plaintiff repeats, re-alleges, and incorporates by reference, each and every

allegation and averment set forth in the above paragraphs with the same force and effect as if the

same were more fully set forth at length herein.

           28.      Defendants promised to pay to Plaintiff the sum of $1,279,371.58 for various cranes

and equipment and then later promised to pay $900,000 for those same cranes and equipment.

Based on Defendants’ promises of payment both under the initial agreement and subsequent

settlement agreement, Plaintiff shipped the cranes and equipment to India and agreed to release

certain of the cranes and equipment to the end buyers. Defendants had reason to know and expected

that the promises would be relied upon by Plaintiff.

           29.      Defendants’ representations regarding payments under the initial agreement and

subsequent settlement agreement were material to the transactions – Plaintiff would never have




8
    Attached as Exhibit E and incorporated by reference is a true and correct copy of the falsely represented payment.

                                                     Page 6 of 17

                                      Electronic Certified Copy
  Case 4:24-cv-01527        Document 1-2        Filed on 04/25/24 in TXSD         Page 10 of 52




agreed to ship the cranes and equipment to India and agree to the release of same without said

promises of payment.

       30.     However, Defendants’ representations and promises were false statements of fact

and/or false promises of payment. Defendants made the false representations and promises

knowing they were false. Defendants intended for Plaintiff to rely on and had reason to expect

Plaintiff would act in reliance on the false representations and promises described above. Plaintiff

justifiably relied on the false representations and promises in shipping and releasing the cranes and

equipment as described above.

       31.     Defendants’ false representation directly and proximately caused damages to

Plaintiff in excess of $1.4 million, together with interest, consequential damages in the form of

accruing storage, transportation, detention and demurrage charges, costs and attorneys’ fees.

                          I. Count 2 - Claim for Breach of Contract

       32.     Plaintiff repeats, re-alleges, and incorporates by reference, each and every

allegation and averment set forth in the above paragraphs with the same force and effect as if the

same were more fully set forth at length herein.

       33.     Additionally and/or alternatively, for and in consideration of Speak2Voice’s

agreement to pay to Plaintiff certain sums, Speak2Voice requested, and Plaintiff agreed to sell to

Speak2Voice certain cranes and equipment as described above.

       34.     Plaintiff fully performed all of its obligations, entitling Plaintiff to payment as

described above. However, Defendant failed to pay invoiced amounts when due. Defendant’s

failure to pay invoices when due as described above constitutes a material breach and/or wrongful

repudiation of the above-described agreement.




                                           Page 7 of 17

                               Electronic Certified Copy
  Case 4:24-cv-01527        Document 1-2        Filed on 04/25/24 in TXSD        Page 11 of 52




       35.     By reason of Defendant’s material breach and/ or wrongful repudiation of its

obligation under the above-described agreement, Plaintiff is owed and has sustained damages to

Plaintiff in excess of $1.4 million, together with interest, consequential damages in the form of

accruing storage, transportation, detention and demurrage charges, costs and attorneys’ fees.

                      J. Count 3 - Claim Under Texas Theft Liability Act

       36.     Plaintiff repeats, re-alleges, and incorporates by reference, each and every

allegation and averment set forth in the above paragraphs with the same force and effect as if the

same were more fully set forth at length herein.

       37.     Additionally and/or alternatively, Plaintiff brings this action under the Texas Theft

Liability Act for an unlawful appropriation of property under Texas Penal Code §§ 31.01, et seq.

Plaintiff was the owner of and entitled to possession of the cranes and equipment. Defendants

unlawfully appropriated certain of the cranes and equipment as such is defined by Texas Penal

Code § 31.01(4) by deception as defined by Texas Penal Code § 31.01(1) in violation of Texas

Penal Code § 31.03.

       38.     Defendants’ unlawful appropriation was made with the intent to deprive Plaintiff

of the cranes and equipment. Such intent is presumed under Texas Penal Code § 31.06.

       39.     Defendants’ wrongful conduct caused injury to Plaintiff, which resulted in damages

in excess of $1.4 million, together with interest, consequential damages in the form of accruing

storage, transportation, detention and demurrage charges, costs and attorneys’ fees.

       40.     Upon proof of actual damages, Plaintiff is entitled to additional statutory damages

of up to $1,000 from Defendants under Texas Civil Practice & Remedies Code § 134.005(a)(1).




                                           Page 8 of 17

                              Electronic Certified Copy
  Case 4:24-cv-01527           Document 1-2        Filed on 04/25/24 in TXSD           Page 12 of 52




                                 K. Count 4 – Claim for Fraudulent Transfer

       41.       Plaintiff repeats, re-alleges, and incorporates by reference, each and every

allegation and averment set forth in the above paragraphs with the same force and effect as if the

same were more fully set forth at length herein.

       42.       Additionally, and/or in the alternative, Texas Business & Commerce Code §

24.006, Transfers Fraudulent as to Present Creditors, provides as follows:

       (a) A transfer made or obligation incurred by a debtor is fraudulent as to a creditor
           whose claim arose before the transfer was made or the obligation was incurred
           if the debtor made the transfer or incurred the obligation without receiving a
           reasonably equivalent value in exchange for the transfer or obligation and the
           debtor was insolvent at that time or the debtor became insolvent as a result of
           the transfer or obligation.

       (b) A transfer made by a debtor is fraudulent as to a creditor whose claim arose
           before the transfer was made if the transfer was made to an insider for an
           antecedent debt, the debtor was insolvent at that time, and the insider had
           reasonable cause to believe that the debtor was insolvent.

       43.       Texas Business & Commerce Code § 24.007, When Transfer is Made or Obligation

is Incurred, provides that:

       For the purposes of this chapter:

       a. a transfer is made:

             i. with respect to an asset that is real property other than a fixture, but
                including the interest of a seller or purchaser under a contract for the sale of
                the asset, when the transfer is so far perfected that a good faith purchaser of
                the asset from the debtor against whom applicable law permits the transfer
                to be perfected cannot acquire an interest in the asset that is superior to the
                interest of the transferee; and

             ii. with respect to an asset that is not real property or that is a fixture, when the
                 transfer is so far perfected that a creditor on a simple contract cannot acquire
                 a judicial lien otherwise than under this chapter that is superior to the
                 interest of the transferee;

       b. if applicable law permits the transfer to be perfected as provided in Subdivision
          (1) of this section and the transfer is not so perfected before the commencement



                                              Page 9 of 17

                                 Electronic Certified Copy
  Case 4:24-cv-01527         Document 1-2        Filed on 04/25/24 in TXSD          Page 13 of 52




             of an action for relief under this chapter, the transfer is deemed made
             immediately before the commencement of the action;

       c. if applicable law does not permit the transfer to be perfected as provided in
          Subdivision (1) of this section, the transfer is made when it becomes effective
          between the debtor and the transferee;

       d. a transfer is not made until the debtor has acquired rights in the asset transferred;
          and

       e. an obligation is incurred:

             i. if oral, when it becomes effective between the parties; or

             ii. if evidenced by a writing, when the writing executed by the obligor is
                 delivered to or for the benefit of the obligee.

       44.      Texas Business & Commerce Code § 24.008, Remedies of Creditors,

provides as follows:

       (a) In an action for relief against a transfer or obligation under this chapter, a
           creditor, subject to the limitations in Section 24.009 of this code, may obtain:

                a. avoidance of the transfer or obligation to the extent necessary to satisfy
                   the creditor's claim;

                b. an attachment or other provisional remedy against the asset transferred
                   or other property of the transferee in accordance with the applicable
                   Texas Rules of Civil Procedure and the Civil Practice and Remedies
                   Code relating to ancillary proceedings; or

                c. subject to applicable principles of equity and in accordance with
                   applicable rules of civil procedure:

                        i. an injunction against further disposition by the debtor or a
                           transferee, or both, of the asset transferred or of other property;

                       ii. appointment of a receiver to take charge of the asset transferred
                           or of other property of the transferee; or

                       iii. any other relief the circumstances may require.

       (b) If a creditor has obtained a judgment on a claim against the debtor, the creditor,
           if the court so orders, may levy execution on the asset transferred or its
           proceeds.




                                           Page 10 of 17

                               Electronic Certified Copy
  Case 4:24-cv-01527        Document 1-2        Filed on 04/25/24 in TXSD         Page 14 of 52




       45.     Defendants transferred the rights to receive payments for the cranes and equipment

and/or received such payments for the cranes and equipment from the end buyers of the cranes and

equipment through other entities and persons unknown to Plaintiff at this time.

       46.     Defendants were insolvent at the time of the payments and transfers of rights to

same, and Defendants had reasonable cause to believe that Defendants were insolvent at the time

of the payments and transfers of rights to same.

       47.     Additionally, and/or alternatively, Defendants made the above-described transfers

without receiving a reasonably equivalent value in exchange for the transfers, and Defendants were

insolvent at that time or Defendants became insolvent as a result of the transfers, and unable to

pay the debts owed to Plaintiff.

       48.     On account of the above, under Texas Business & Commerce Code § 24.008(a)(1),

Plaintiff is entitled to judgment avoiding the transfers by Defendants to other entities and persons

unknown to Plaintiff at this time.

       49.     Additionally, under Texas Business & Commerce Code § 24.008(b), Plaintiff is

entitled to judgment levying execution on sums transferred by Defendants to themselves, and

potentially other entities and persons unknown to Plaintiff at this time.

                        L. Count 5 – Claim for Imposition of Constructive Trust

       50.     Plaintiff repeats, re-alleges, and incorporates by reference, each and every

allegation and averment set forth in the above paragraphs with the same force and effect as if the

same were more fully set forth at length herein.

       51.     Plaintiff seeks the imposition of a constructive trust on Defendants to recover the

proceeds from the sale of the cranes and equipment in aid of the recovery on Plaintiffs’ claim.




                                           Page 11 of 17

                               Electronic Certified Copy
  Case 4:24-cv-01527         Document 1-2       Filed on 04/25/24 in TXSD         Page 15 of 52




                                  M. Count 6 - Attorneys’ Fees

       52.     Plaintiff repeats, re-alleges, and incorporates by reference, each and every

allegation and averment set forth in the above paragraphs with the same force and effect as if the

same were more fully set forth at length herein.

       53.     Plaintiff is entitled to recover reasonable expenses, including attorneys’ fees, under

Texas Civil Practice & Remedies Code § 134.005(b).

                                     N. Exemplary Damages

       54.     Plaintiff repeats, re-alleges, and incorporates by reference, each and every

allegation and averment set forth in the above paragraphs with the same force and effect as if the

same were more fully set forth at length herein.

       55.     Additionally, and/or alternatively, pursuant to Chapter 41 of the Texas Civil

Practice & Remedies Code, the conduct by Defendants constitutes malice and/or in the alternative

gross negligence.

       56.     Specifically, the conduct by Defendants constitutes malice and in the alternative

gross negligence as defined in Chapter 41 of the Texas Civil Practice & Remedies Code.

       57.     As a result of the above-described conduct, acts and omissions, Plaintiff is entitled

to exemplary damages from Defendants in an amount within the jurisdictional limits of this court.

               O. Piercing the Corporate Veil, Alter Ego, and Single Business Enterprise

       58.     Plaintiff repeats, realleges, and incorporates by reference, each and every allegation

and averment set forth in the above paragraphs with the same force and effect as if the same were

more fully set forth at length herein.

       59.     Plaintiff alleges that Defendants are jointly and severally liable for the conduct of

each other because they are the alter egos of each other. Equity demands that the separate corporate



                                          Page 12 of 17

                               Electronic Certified Copy
  Case 4:24-cv-01527        Document 1-2         Filed on 04/25/24 in TXSD          Page 16 of 52




identities of this entity and individual should be disregarded and they should be treated as one to

prevent the use of the corporate fiction to avoid unfairness and inequity.

       60.     Upon     information     and     belief,    Mr.    Rajwandi      controlled     Speak2

Voice. Mr. Rajwandi utilized this entity to try to avoid liability and the entity was organized and

operated as a mere tool or business conduit of Mr. Rajwandi.

       61.     Plaintiffs further allege that Defendants are jointly and severally liable for the

conduct of each other alleged in this petition because the corporate identity was used as a sham to

perpetuate a fraud on Plaintiff. Defendants intended to and did perpetuate an actual fraud on

Plaintiff as described above.

       62.     Additionally, Plaintiff alleges that Defendants are jointly and severally liable for

the wrongful conduct alleged in this petition, because they constitute a single business enterprise

carrying out a common objective. Defendants integrated their resources to achieve a common

business purpose.

       63.     Plaintiff next alleges that the corporate forms of the entities were utilized to attempt

to avoid the existing legal obligations of Defendants. The entities were formed and/or utilized to

avoid Defendants’ respective existing legal obligations to Plaintiff.

          P. Application for Temporary Restraining Order & Appointment of a Receiver

       64.     Plaintiff repeats, re-alleges, and incorporates by reference, each and every

allegation and averment set forth in the above paragraphs with the same force and effect as if the

same were more fully set forth at length herein.

       65.     Plaintiff asks the Court to freeze Defendants’ non-exempt assets and provide an

accounting of the sums received for the cranes and equipment and whereabouts thereof.




                                           Page 13 of 17

                                Electronic Certified Copy
     Case 4:24-cv-01527           Document 1-2         Filed on 04/25/24 in TXSD          Page 17 of 52




           66.      Plaintiff's application for a temporary restraining order is authorized by Texas Civil

Practice & Remedies Code § 65.011(1)-(3) and Texas Business & Commerce Code §

24.008(a)(3)(A). Under Texas Business & Commerce Code § 24.008(a)(3)(B), Plaintiff is entitled

to the appointment of a receiver to take charge of Defendants’ assets.

           67.      It is probable that Plaintiff will recover from Defendants after a trial on the merits

on Plaintiff’s claim as Defendants owe money for the cranes and equipment, and intent to commit

theft is presumed under Texas Penal Code § 31.06.

           68.      If Plaintiff’s application is not granted, harm is imminent. The harm that will result

if the temporary restraining order is not issued is irreparable. Without a restraining order, Plaintiff

will be left without adequate remedy. The sums for the cranes and equipment have been and will

be further disbursed and unreachable to satisfy Plaintiff’s claim. Such is the case where a defendant

will be unable to pay damages if an injunction is not issued. 9

           69.      Plaintiff is willing to post bond. 10

                                        Q. Request for Temporary Injunction

           70.      Plaintiff asks the Court to set their application for temporary injunction for a

hearing and, after the hearing, issue a temporary injunction against Defendants.

                                          R. Conditions Precedent

           71.           All conditions precedent to Plaintiff’s claims for relief have been performed or

have occurred.




9
 Texas Indus. Gas v. Phoenix Metallurgical Corp., 828 S.W.2d 529, 533 (Tex.App.—Houston [1st Dist.] 1992, no
writ); Bank of Southwest v. Harlingen Nat'l Bank, 662 S.W.2d 113, 116 (Tex.App.—Corpus Christi 1983, no writ);
Surko Enters., Inc. v. Borg–Warner Acceptance Corp., 782 S.W.2d 223, 225 (Tex.App.—Houston [1st Dist.] 1989,
no writ).
10
     See Tex. R. Civ. P. 684.


                                                 Page 14 of 17

                                    Electronic Certified Copy
  Case 4:24-cv-01527            Document 1-2         Filed on 04/25/24 in TXSD      Page 18 of 52




                                               S. Jury Demand

         72.     Pursuant to Texas Rule of Civil Procedure 216, Plaintiff hereby demands a trial by

 jury.

                                           T. Rule 193.7 Notice

         73.     Pursuant to Texas Rules of Civil Procedure 193.7, Plaintiff gives notice that all

documents produced by any party may be used at any pre-trial proceeding or at trial.

                                                 U. Prayer

         WHEREFORE, Plaintiff respectfully requests that Defendants be cited to appear and that, on

final trial, on final trial, Plaintiff have:

                 a.      Judgment against Defendants awarding Plaintiff actual damages in an
                         amount within the jurisdictional limits of this court;

                 b.      Judgment against Defendants awarding Plaintiff exemplary damages;

                 c.      The imposition of a constructive trust as urged by Plaintiff;

                 d.      Judgment against Defendants awarding Plaintiff reasonable attorneys’ fees
                         and expenses;

                 e.      A temporary restraining order as sought herein;

                 f.      A temporary injunction as sought herein;

                 g.      The appointment of a receiver as requested herein;

                 h.      Judgment against Defendants awarding Plaintiff prejudgment and post-
                         judgment interest as allowed by law;

                 i.      Judgment against Defendants awarding Plaintiff costs of suit; and

                 j.      Such other and further relief to which Plaintiffs may be justly entitled.




                                                Page 15 of 17

                                  Electronic Certified Copy
Case 4:24-cv-01527   Document 1-2    Filed on 04/25/24 in TXSD   Page 19 of 52




                            Respectfully submitted,

                            NICHAMOFF LAW PC

                            /s/ Seth a. Nichamoff
                      By:   ___________________________
                            Seth A. Nichamoff
                            State Bar No. 24027568
                            2444 Times Boulevard, Suite 270
                            Houston, Texas 77005
                            (713) 503-6706 Telephone
                            (713) 360-7497 Facsimile


                            ATTORNEYS FOR PLAINTIFF




                                Page 16 of 17

                      Electronic Certified Copy
Case 4:24-cv-01527   Document 1-2   Filed on 04/25/24 in TXSD   Page 20 of 52




                       Electronic Certified Copy
         Case 4:24-cv-01527          Document 1-2          Filed on 04/25/24 in TXSD          Page 21 of 52

             NORTH AMERICA MACHINERY LLC
                                                                                           Statement
             55 CARTER DRIVE, SUITE 201                                                                 Date
             EDISON, NJ 08817
             Tel: 1-732-325-2422                                                                      2/11/2024

             sales@northamericamachinery.com

     To:
   Speak 2 Voice LLC
   1607 Kensington Blvd # 112
   Sugarland, TX 77479
   USA




                                                                                    Amount Due                    Amount Enc.
                                                                                    $1,002,300.58

  Date                                   Transaction                                  Amount                        Balance

04/19/2023    INV #12235. Due 04/19/2023. Orig. Amount $319,920.00. Grove GMK             235,920.00                    235,920.00
              6300B S/N 6250-8055
05/30/2023    INV #12244. Due 05/30/2023. Orig. Amount $218,400.00. 2000 Grove            176,400.00                    412,320.00
              GMK5210/5180 // S.NO 5180-9075
06/22/2023    INV #12245. Due 06/22/2023. Orig. Amount $309,650.00. LIEBHERR              227,150.00                    639,470.00
              LTM 1300-1 SN 071 133, YEAR 2003, 365 US, 300 METRIC TON ALL
              TERRAIN CRANE
06/29/2023    INV #12247. Due 06/29/2023. Orig. Amount $180,560.00. 1995 KRUPP            132,560.00                    772,030.00
              KMK 5160 // S.NO 51608091
08/05/2023    INV #12252. Due 08/05/2023. Orig. Amount $1,140.58. BANK SERVICE              1,140.58                    773,170.58
              CHARGES
08/29/2023    INV #12246. Due 08/29/2023. Orig. Amount $268,800.00. ONE UNIT OF           208,800.00                    981,970.58
              USED 2000 DEMAG AC 180 ALL TERRAIN CRANE S/N 24073 C/W
              MERCEDEZ ENGINES, 197' MAIN BOOM, 100 FT OF FIXED JIB,
              141400 LBS OF COUNTERWEGHT 2 WINCHES, 5 SHEVA HOOK
              BLOCK
09/21/2023    INV #12257. Due 09/21/2023. Orig. Amount $4,980.00. 1996 JLG                  4,980.00                    986,950.58
              150HAX 4WD Diesel Articulating Boom Lift S/N:0300024353 & 2003 JLG
              800S Telescopic Boom Lift S/N:0300068041
09/21/2023    INV #12258. Due 09/21/2023. Orig. Amount $15,350.00. 2006 JLG 860SJ          15,350.00                   1,002,300.58
              4WD Diesel Telescopic Boom Lift (Inoperable) S/N:0300090211




                    1-30 DAYS PAST        31-60 DAYS PAST       61-90 DAYS PAST      OVER 90 DAYS
 CURRENT                                                                                                           Amount Due
                          DUE                   DUE                   DUE              PAST DUE

     0.00                  0.00                  0.00                   0.00           1,002,300.58               $1,002,300.58




                                        Electronic Certified Copy                                     Exhibit A
         Case 4:24-cv-01527           Document 1-2          Filed on 04/25/24 in TXSD          Page 22 of 52

              BEST INTERNATIONAL CARGO INC.
                                                                                             Statement
              2-266 RUTHERFORD RD S                                                                       Date
              BRAMPTON, ON L6W 3X3, CANADA
              Tel: 905-454-3442 Fax: 905-451-3457                                                      2/11/2024

              Email: info@bestinternationalcargo.ca

     To:
   SPEAK2VOICE
   16170 KENSINGTON DR, # 112
   SUGARLAND TX 77479 USA
   Tel: 848 219 7924
   Email: fairtrade2001@aol.com




                                                                                      Amount Due                   Amount Enc.
                                                                                     USD 277,071.00

  Date                                    Transaction                                   Amount                       Balance

08/26/2022     INV #14066. Due 08/26/2022. Orig. Amount USD 1,200.00. 220625607               1,200.00                      1,200.00
02/28/2023     INV #14185. Due 02/28/2023. Orig. Amount USD 1,272.00. Charges Paid            1,272.00                      2,472.00
               to William
06/28/2023     INV #14260. Due 06/28/2023. Orig. Amount USD 750.00. LTM 1300                     750.00                     3,222.00
               TONU CHARGES
06/28/2023     INV #14261. Due 06/28/2023. Orig. Amount USD 42,448.00. GMK 6220 //           17,598.00                     20,820.00
               NPTBT024002
07/31/2023     INV #14274. Due 07/31/2023. Orig. Amount USD 7,995.00.                         7,995.00                     28,815.00
               RICDV3228700
09/01/2023     INV #14309. Due 09/01/2023. Orig. Amount USD 33,860.00. Used Grove            33,860.00                     62,675.00
               GMK 5210/5180 All Terrain Crane S/NO. 5180-9075 // NPTBT024010
09/01/2023     INV #14310. Due 09/01/2023. Orig. Amount USD 9,150.00. USED 2000               9,150.00                     71,825.00
               DEMAG AC 180 ALL TERRAINE CRANE S/NO. 24073 // 65902951
09/01/2023     INV #14311. Due 09/01/2023. Orig. Amount USD 9,150.00. USED 1995               9,150.00                     80,975.00
               KRUPP KMK 5160 ALL TERRAIN CRANE S/NO. 51608091 // 67567135
09/01/2023     INV #14312. Due 09/01/2023. Orig. Amount USD 65,805.00. USED                      805.00                    81,780.00
               LIEBHERR LTM 1300/1 ALL TERRAIN CRANE S/NO. 071133 //
               63903682, 66903679, 68901317
09/01/2023     INV #14313. Due 09/01/2023. Orig. Amount USD 38,503.00. USED 2000             38,503.00                    120,283.00
               DEMAG AC 180 ALL TERRAINE CRANE
09/01/2023     INV #14314. Due 09/01/2023. Orig. Amount USD 21,038.00. Used Grove            21,038.00                    141,321.00
               GMK6300B All Terrain Crane S/NO. 62508055 // NPTBT024009
09/01/2023     INV #14319. Due 09/01/2023. Orig. Amount USD 32,750.00. USED 1995             32,750.00                    174,071.00
               KRUPP KMK 5160 ALL TERRAIN CRANE S/NO. 51608091 // 67567135
11/22/2023     INV #14395. Due 11/22/2023. Orig. Amount USD 52,000.00.                       52,000.00                    226,071.00
               CAN0755999A, CAN0755999B
11/22/2023     INV #14398. Due 11/22/2023. Orig. Amount USD 8,000.00. 60579888                8,000.00                    234,071.00
01/29/2024     INV #14446. Due 01/29/2024. Orig. Amount USD 39,000.00. USED                  39,000.00                    273,071.00
               LIEBHERR LTM 1300/1 ALL TERRAIN CRANE S/NO. 071133 //
               MM010597
02/11/2024     INV #14459. Due 02/11/2024. Orig. Amount USD 4,000.00. Forklift                4,000.00                    277,071.00




                     1-30 DAYS PAST        31-60 DAYS PAST        61-90 DAYS PAST      OVER 90 DAYS
 CURRENT                                                                                                            Amount Due
                           DUE                   DUE                    DUE              PAST DUE

   4,000.00              39,000.00                 0.00                60,000.00          174,071.00               USD 277,071.00




                                         Electronic Certified Copy                                     Exhibit B
Case 4:24-cv-01527     Document 1-2   Filed on 04/25/24 in TXSD   Page 23 of 52




                     Electronic Certified Copy      Exhibit C
                                                                            CamScanner
Case 4:24-cv-01527   Document 1-2   Filed on 04/25/24 in TXSD   Page 24 of 52




                       Electronic Certified Copy
                                                                          CamScanner
Case 4:24-cv-01527   Document 1-2   Filed on 04/25/24 in TXSD   Page 25 of 52




                       Electronic Certified Copy
                                                                          CamScanner
Case 4:24-cv-01527   Document 1-2   Filed on 04/25/24 in TXSD   Page 26 of 52




                       Electronic Certified Copy
                                                                          CamScanner
Case 4:24-cv-01527   Document 1-2   Filed on 04/25/24 in TXSD   Page 27 of 52




                       Electronic Certified Copy
                                                                          CamScanner
Case 4:24-cv-01527   Document 1-2   Filed on 04/25/24 in TXSD   Page 28 of 52




                                                                Exhibit C
                      Electronic Certified Copy
Case 4:24-cv-01527   Document 1-2   Filed on 04/25/24 in TXSD   Page 29 of 52




                      Electronic Certified Copy
Case 4:24-cv-01527   Document 1-2   Filed on 04/25/24 in TXSD   Page 30 of 52




                                                                  Exhibit D
                      Electronic Certified Copy
                                                                                                           Filed
 Case 4:24-cv-01527         Document 1-2     Filed on 04/25/24 in TXSD         Page 31 of 523/12/2024 4:23 PM
                                                                                       Beverley McGrew Walker
                                                                                                   District Clerk
                                                                                        Fort Bend County, Texas
                                                                         2444 Times Boulevard ,Sylvie
                                                                                                SuiteLe270
NICHAMOFF                                                                Houston , Texas 77005
                                                                         (713) 503-6706
     LAW PC                                                              www.nichamofflaw.com




  March 8, 2024


  Fort Bend County District Clerk

      Ref: North America Machinery, LLC VS. Speak2VOICE LLC and RAHIM
      Cause # 24-DCV-313877

  Dear Fort Bend County District Clerk,

  On 3/5/2024, I filed PLAINTIFF’S ORIGINAL PETITION, APPLICATION
  FOR TEMPORARY RESTRAINING ORDER, JURY DEMAND, & RULE
  193.7 NOTICE into envelope # 85202377. I failed to request and pay for 2
  citations and would like to do so with this request.

  Citations to be issued:

  Defendant Speak2Voice, 5024 Bellevue Falls Lane, Sugar Land, Texas
  77479. This defendant may be served through its registered agent, Mr.
  Rajwani, at its registered office, 5024 Bellevue Falls Lane, Sugar Land, Texas
  77479.

  Defendant Mr. Rajwani, an individual residing at 5024 Bellevue Falls Lane,
  SugarLand, Texas 77479, may be served with process at his residence..

  Should you have any questions, please do not hesitate to contact me.

  Thank you.


   Regards,
                        ..
  /s/ Seth A. Nichamoff
  Seth A. Nichamoff
  State Bar No. 24027568




                              Electronic Certified Copy
       Case 4:24-cv-01527          Document 1-2           Filed on 04/25/24 in TXSD              Page 32 of 52


                                              THE STATE OF TEXAS

                                                       CITATION

TO:    RAHIM RAJWANI
       5024 BELLEVUE FALLS LANE
       SUGAR LAND TX 77479

NOTICE:

You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the
clerk who issued this citation by 10:00 a.m. on Monday next following the expiration of twenty days after you were
served this citation and PLAINTIFF'S ORIGINAL PETITION, APPLICATION FOR TEMPORARY RESTRAINING
ORDER, JURY DEMAND, & RULE 193.7 NOTICE filed on March 05, 2024, a default judgment may be taken
against you. In addition to filing a written answer with the clerk, you may be required to make initial disclosures to
the other parties of this suit. These disclosures generally must be made no later than 30 days after you file your
answer with the clerk. Find out more at TexasLawHelp.org.

The case is presently pending before the 400TH JUDICIAL DISTRICT COURT of Fort Bend County sitting in
Richmond, Texas. It bears cause number 24-DCV-313877 and is styled:

NORTH AMERICA MACHINERY, LLC VS. SPEAK2VOICE, LLC AND RAHIM RAJWANI

The name and address of the attorney for PLAINTIFF(S) is:

SETH ALLEN NICHAMOFF
NICHAMOFF LAW PC
2444 TIMES BOULEVARD SUITE 270
HOUSTON TX 77005
713-503-6706

The nature of the demands of said PLAINTIFF(S) is shown by a true and correct copy of the PLAINTIFF'S
ORIGINAL PETITION, APPLICATION FOR TEMPORARY RESTRAINING ORDER, JURY DEMAND, & RULE
193.7 NOTICE accompanying this citation and made a part hereof.

If this Citation is not served, it shall be returned unserved. Issued under my hand and seal of said Court, at
Richmond, Texas, on this the 15th day of March, 2024.

                                                 BEVERLEY MCGREW WALKER, DISTRICT CLERK
                                                 FORT BEND COUNTY, TEXAS
                                                 Physical Address:
                                                 1422 Eugene Heimann Circle, Room 31004
                                                 Richmond, Texas 77469
                                                 Mailing Address:
                                                 301 Jackson Street, Room 101
                                                 Richmond, Texas 77469

                                                 By:
                                                       Deputy District Clerk TRANISHA GOFFINET
                                                       Telephone: (281) 344-3959




                                      Electronic Certified Copy
         Case 4:24-cv-01527                   Document 1-2                    Filed on 04/25/24 in TXSD                Page 33 of 52


24-DCV-313877                                  400th Judicial District Court
North America Machinery, LLC VS. Speak2Voice, LLC and Rahim Rajwani

                                        OFFICER’S OR AUTHORIZED PERSON’S RETURN

Came to hand on the                        day of                                                  , 20     , at      o’clock ___M. Executed
at                                                                                        , within the County of
                                          , at        o’clock ___M. on the                          day of                                          ,
20    , by delivering to the within named
          , in person, a true copy of this citation together with the accompanying copy of the petition, having first
attached such copy of such petition to such copy of citation and endorsed on such copy of citation the date of
delivery.

Total fee for serving           citation at $80.00 each $


                                                                       Name of Officer or Authorized Person

                                                                                                                      County, Texas
                                                                   By:
                                                                          Signature of Deputy or Authorized Person
*State day and hour and place of serving each person.

COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.
In accordance with Rule 107: The officer or authorized person who serves, or attempts to serve, a citation shall sign the return. The signature is
not required to be verified. If the return is signed by a person other than a sheriff, constable, or the clerk of the court, the return shall be signed
under penalty of perjury and contain the following statement:

“My name is                                                                                                                                         ,
                                           (First, Middle, Last)

my date of birth is                                  , and my address is
                                                                                              (Street, City, Zip)

                                                                                                                                          .”

I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.

Executed in                                                            County, State of                                        , on the

day of                                                             .



                                                                               Declarant / Authorized Process Server



                                                                               (Id # & expiration of certification)




                                                                          ORIGINAL
Citation issued to Rahim Rajwani on 3/15/2024.


                                                 Electronic Certified Copy
       Case 4:24-cv-01527          Document 1-2           Filed on 04/25/24 in TXSD              Page 34 of 52


                                              THE STATE OF TEXAS

                                                       CITATION

TO:    RAHIM RAJWANI
       5024 BELLEVUE FALLS LANE
       SUGAR LAND TX 77479

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                                                 Richmond, Texas 77469
                                                 Mailing Address:
                                                 301 Jackson Street, Room 101
                                                 Richmond, Texas 77469

                                                 By:
                                                       Deputy District Clerk TRANISHA GOFFINET
                                                       Telephone: (281) 344-3959




                                                       SERVICE



                                      Electronic Certified Copy
         Case 4:24-cv-01527                   Document 1-2                   Filed on 04/25/24 in TXSD                 Page 35 of 52


24-DCV-313877                                  400th Judicial District Court
North America Machinery, LLC VS. Speak2Voice, LLC and Rahim Rajwani

                                        OFFICER’S OR AUTHORIZED PERSON’S RETURN

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at                                                                                       , within the County of
                                          , at       o’clock ___M. on the                          day of                                           ,
20    , by delivering to the within named
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delivery.

Total fee for serving           citation at $80.00 each $


                                                                      Name of Officer or Authorized Person

                                                                                                                     County, Texas
                                                                  By:
                                                                         Signature of Deputy or Authorized Person
*State day and hour and place of serving each person.

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Executed in                                                           County, State of                                         , on the

day of                                                            .



                                                                              Declarant / Authorized Process Server



                                                                              (Id # & expiration of certification)




                                                                         SERVICE
Citation issued to Rahim Rajwani on 3/15/2024.


                                                 Electronic Certified Copy
       Case 4:24-cv-01527          Document 1-2           Filed on 04/25/24 in TXSD              Page 36 of 52


                                              THE STATE OF TEXAS

                                                       CITATION

TO:    SPEAK2VOICE, LLC
       C/O REGISTERED AGENT MR RAJWANI
       5024 BELLEVUE FALLS LANE
       SUGAR LAND TX 77479

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         Case 4:24-cv-01527                   Document 1-2                    Filed on 04/25/24 in TXSD                Page 37 of 52


24-DCV-313877                                  400th Judicial District Court
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                                        OFFICER’S OR AUTHORIZED PERSON’S RETURN

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20    , by delivering to the within named
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Total fee for serving           citation at $80.00 each $


                                                                       Name of Officer or Authorized Person

                                                                                                                      County, Texas
                                                                   By:
                                                                          Signature of Deputy or Authorized Person
*State day and hour and place of serving each person.

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Executed in                                                            County, State of                                        , on the

day of                                                             .



                                                                               Declarant / Authorized Process Server



                                                                               (Id # & expiration of certification)




                                                                          ORIGINAL
Citation issued to Speak2Voice, LLC on 3/15/2024.


                                                 Electronic Certified Copy
       Case 4:24-cv-01527          Document 1-2           Filed on 04/25/24 in TXSD              Page 38 of 52


                                              THE STATE OF TEXAS

                                                       CITATION

TO:    SPEAK2VOICE, LLC
       C/O REGISTERED AGENT MR RAJWANI
       5024 BELLEVUE FALLS LANE
       SUGAR LAND TX 77479

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                                                 By:
                                                       Deputy District Clerk TRANISHA GOFFINET
                                                       Telephone: (281) 344-3959




                                                       SERVICE



                                      Electronic Certified Copy
         Case 4:24-cv-01527                   Document 1-2                   Filed on 04/25/24 in TXSD                 Page 39 of 52


24-DCV-313877                                  400th Judicial District Court
North America Machinery, LLC VS. Speak2Voice, LLC and Rahim Rajwani

                                        OFFICER’S OR AUTHORIZED PERSON’S RETURN

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delivery.

Total fee for serving           citation at $80.00 each $


                                                                      Name of Officer or Authorized Person

                                                                                                                     County, Texas
                                                                  By:
                                                                         Signature of Deputy or Authorized Person
*State day and hour and place of serving each person.

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                                          (First, Middle, Last)

my date of birth is                                  , and my address is
                                                                                             (Street, City, Zip)

                                                                                                                                          .”

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Executed in                                                           County, State of                                         , on the

day of                                                            .



                                                                              Declarant / Authorized Process Server



                                                                              (Id # & expiration of certification)




                                                                         SERVICE
Citation issued to Speak2Voice, LLC on 3/15/2024.


                                                 Electronic Certified Copy
                                                                                              Filed
Case 4:24-cv-01527   Document 1-2   Filed on 04/25/24 in TXSD   Page 40 of 52 3/27/2024 6:18 AM
                                                                           Beverley McGrew Walker
                                                                                      District Clerk
                                                                           Fort Bend County, Texas
                                                                              Dreamy Jose




                      Electronic Certified Copy
Case 4:24-cv-01527   Document 1-2   Filed on 04/25/24 in TXSD   Page 41 of 52




                      Electronic Certified Copy
                                                                                              Filed
Case 4:24-cv-01527   Document 1-2   Filed on 04/25/24 in TXSD   Page 42 of 52 3/27/2024 6:18 AM
                                                                           Beverley McGrew Walker
                                                                                      District Clerk
                                                                           Fort Bend County, Texas
                                                                              Dreamy Jose




                      Electronic Certified Copy
Case 4:24-cv-01527   Document 1-2   Filed on 04/25/24 in TXSD   Page 43 of 52




                      Electronic Certified Copy
                                                                                                                    Filed
  Case 4:24-cv-01527          Document 1-2         Filed on 04/25/24 in TXSD         Page 44 of 524/15/2024 11:17 AM
                                                                                                 Beverley McGrew Walker
                                                                                                            District Clerk
                                                                                                 Fort Bend County, Texas
                                                                                                    Salena Jasso

                                     CAUSE NO. 24-DCV-313877

  NORTH AMERICA MACHINERY                            §               IN THE DISTRICT COURT
  LLC,                                               §
                Plaintiff,                           §
                                                     §
  VS.                                                §           FORT BEND COUNTY, TEXAS
                                                     §
  SPEAK2VOICE LLC and RAHIM                          §
  RAJWANI                                            §                  400th JUDICIAL DISTRICT
              Defendants.


                     DEFENDANT SPEAK2VOICE ORIGINAL ANSWER


TO THE HONORABLE JUDGE:

        Defendant SPEAK2VOICE (Defendant), files this Answer in response to Plaintiff, NORTH

AMERICA MACHINERY LLC’s Original Petition (“Petition”) in the above captioned action. In

support hereof, Defendant would respectfully show this Court as follows:

                                       GENERAL DENIAL
        1.       Defendant generally denies any and all allegations contained in the Original Petition

pursuant to Rule 92 of the Texas Rules of Civil Procedure and demand strict proof thereof by the

requisite legal standards.

                                              PRAYER
        Defendant respectfully requests that this Court enter a judgment that Plaintiff takes nothing

from his claims and to assess all costs against Plaintiff. Defendant further prays for any further legal

or equitable relief to which he may be entitled.

                                                               RESPECTFULLY SUBMITTED,

                                                               GK LAW, PLLC
                                                               /S/ Gagan Khan
                                                               GAGAN KHAN
                                                               State Bar No. 24090207


                                               Page 1 of 3

             4/15/24 SJ
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Case 4:24-cv-01527   Document 1-2      Filed on 04/25/24 in TXSD     Page 45 of 52



                                                  efile@gagan.law

                                                  RANDALL B. CLARK
                                                  State Bar No. 04294900
                                                  efile@gagan.law
                                                  701 N. Post Oak Road, Suite 612
                                                  Houston, Texas 77024
                                                  Phone: 713.428.2045
                                                  Fax: 806.243.5734

                                                  COUNSEL FOR DEFENDANT




                                    Page 2 of 3


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  Case 4:24-cv-01527        Document 1-2        Filed on 04/25/24 in TXSD         Page 46 of 52



                                  CERTIFICATE OF SERVICE


       I certify that on April 15, 2024, a true and correct copy of this pleading was served upon all
counsel and/or parties of record in accordance with the Texas Rules of Civil Procedure.


Seth A. Nichamoff                             via Electronic Filing
2444 Times Boulevard, Suite 270
Houston, Texas 77005
Tel: 713-503-6706
seth@nichamofflaw.com
                                                                      /S/ GAGAN KHAN
                                                                      GAGAN KHAN




                                             Page 3 of 3


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     Case 4:24-cv-01527        Document 1-2      Filed on 04/25/24 in TXSD         Page 47 of 52

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The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

GK Law E-File Texas on behalf of Gagan Khan
Bar No. 24090207
efile@gagan.law
Envelope ID: 86651946
Filing Code Description: Answer/Response
Filing Description: Defendant Speak2Voice Original Answer
Status as of 4/15/2024 12:08 PM CST

Associated Case Party: North America Machinery, LLC

Name                  BarNumber   Email                   TimestampSubmitted       Status

Seth Alan Nichamoff 24027568      seth@nichamofflaw.com   4/15/2024 11:17:55 AM    SENT



Associated Case Party: Speak2Voice, LLC

Name                  BarNumber   Email           TimestampSubmitted      Status

Gagan Khan                        efile@gagan.law 4/15/2024 11:17:55 AM   SENT

Randall BurtonClark               efile@gagan.law 4/15/2024 11:17:55 AM   SENT



Associated Case Party: Rahim Rajwani

Name                  BarNumber   Email           TimestampSubmitted      Status

Gagan Khan                        efile@gagan.law 4/15/2024 11:17:55 AM   SENT

Randall BurtonClark               efile@gagan.law 4/15/2024 11:17:55 AM   SENT




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  Case 4:24-cv-01527         Document 1-2          Filed on 04/25/24 in TXSD         Page 48 of 524/15/2024 11:17 AM
                                                                                                 Beverley McGrew Walker
                                                                                                            District Clerk
                                                                                                 Fort Bend County, Texas
                                                                                                    Salena Jasso

                                     CAUSE NO. 24-DCV-313877

  NORTH AMERICA MACHINERY                            §               IN THE DISTRICT COURT
  LLC,                                               §
               Plaintiff,                            §
                                                     §
  VS.                                                §           FORT BEND COUNTY, TEXAS
                                                     §
  SPEAK2VOICE LLC and RAHIM                          §
  RAJWANI                                            §                  400th JUDICIAL DISTRICT
             Defendants.


                  DEFENDANT RAHIM RAJWANI’S ORIGINAL ANSWER


TO THE HONORABLE JUDGE:

        Defendant RAHIM RAJWANI (Defendant), files this Answer in response to Plaintiff,

NORTH AMERICA MACHINERY LLC’s Original Petition (“Petition”) in the above captioned

action. In support hereof, Defendant would respectfully show this Court as follows:

                                       GENERAL DENIAL
        1.      Defendant generally denies any and all allegations contained in the Original Petition

pursuant to Rule 92 of the Texas Rules of Civil Procedure and demand strict proof thereof by the

requisite legal standards.

                                              PRAYER
        Defendant respectfully requests that this Court enter a judgment that Plaintiff takes nothing

from his claims and to assess all costs against Plaintiff. Defendant further prays for any further legal

or equitable relief to which he may be entitled.

                                                               RESPECTFULLY SUBMITTED,

                                                               GK LAW, PLLC
                                                               /S/ Gagan Khan
                                                               GAGAN KHAN
                                                               State Bar No. 24090207


                                               Page 1 of 3
             4/15/24 SJ
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Case 4:24-cv-01527   Document 1-2      Filed on 04/25/24 in TXSD     Page 49 of 52



                                                  efile@gagan.law

                                                  RANDALL B. CLARK
                                                  State Bar No. 04294900
                                                  efile@gagan.law
                                                  701 N. Post Oak Road, Suite 612
                                                  Houston, Texas 77024
                                                  Phone: 713.428.2045
                                                  Fax: 806.243.5734

                                                  COUNSEL FOR DEFENDANT




                                    Page 2 of 3


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  Case 4:24-cv-01527        Document 1-2        Filed on 04/25/24 in TXSD         Page 50 of 52



                                  CERTIFICATE OF SERVICE


       I certify that on April 15, 2024, a true and correct copy of this pleading was served upon all
counsel and/or parties of record in accordance with the Texas Rules of Civil Procedure.


Seth A. Nichamoff                             via Electronic Filing
2444 Times Boulevard, Suite 270
Houston, Texas 77005
Tel: 713-503-6706
seth@nichamofflaw.com
                                                                      /S/ GAGAN KHAN
                                                                      GAGAN KHAN




                                             Page 3 of 3


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GK Law E-File Texas on behalf of Gagan Khan
Bar No. 24090207
efile@gagan.law
Envelope ID: 86651946
Filing Code Description: Answer/Response
Filing Description: Defendant Speak2Voice Original Answer
Status as of 4/15/2024 12:08 PM CST

Associated Case Party: Speak2Voice, LLC

Name                  BarNumber   Email           TimestampSubmitted      Status

Randall BurtonClark               efile@gagan.law 4/15/2024 11:17:55 AM   SENT

Gagan Khan                        efile@gagan.law 4/15/2024 11:17:55 AM   SENT



Associated Case Party: Rahim Rajwani

Name                  BarNumber   Email           TimestampSubmitted      Status

Randall BurtonClark               efile@gagan.law 4/15/2024 11:17:55 AM   SENT

Gagan Khan                        efile@gagan.law 4/15/2024 11:17:55 AM   SENT



Associated Case Party: North America Machinery, LLC

Name                  BarNumber   Email                   TimestampSubmitted       Status

Seth Alan Nichamoff 24027568      seth@nichamofflaw.com   4/15/2024 11:17:55 AM    SENT




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       Case 4:24-cv-01527       Document 1-2          Filed on 04/25/24 in TXSD         Page 52 of 52


                                     CERTIFICATION CERTIFICATE


THE STATE OF TEXAS

COUNTY OF FORT BEND


       I, BEVERLEY MCGREW WALKER, Clerk of the District Court of Fort Bend County, Texas, do
certify that the record in Cause Number 24-DCV-313877 and styled:
    NORTH AMERICA MACHINERY, LLC VS. SPEAK2VOICE, LLC AND RAHIM RAJWANI
in the 400th Judicial District Court of Fort Bend County, Texas to which this certification is attached is a
true and correct copy of:
   •   PLAINTIFF’S ORIGINAL PETITION, APPLICATION FOR TEMPORARY RESTRAINING
       ORDER, JURY DEMAND, & RULE 193.7 NOTICE;
   •   LETTER REQUESTING CITATIONS;
   •   CITATION ISSUED TO RAHIM RAJWANI;
   •   CITATION ISSUED TO SPEAK2VOICE, LLC;
   •   OFFICER’S RETURN FOR SPEAK2VOICE, LLC;
   •   OFFICER’S RETURN FOR RAHIM RAJWANI;
   •   DEFENDANT SPEAK2VOICE ORIGINAL ANSWER;
   •   DEFENDANT RAHIM RAJWANI’S ORIGINAL ANSWER;
in the matters and proceedings as appear of record in the 400th Judicial District Court of Fort Bend
County, Texas.

       Given under my official signature and seal of office at Richmond, Texas on this the 22nd day of
April, 2024


                                             BEVERLEY MCGREW WALKER, DISTRICT CLERK
                                             FORT BEND COUNTY, TEXAS
                                             Physical Address:
                                             1422 Eugene Heimann Circle, Room 31004
                                             Richmond, Texas 77469
                                             Mailing Address:
                                             301 Jackson Street, Room 101
                                             Richmond, Texas 77469




                                             By:
                                                   Deputy District Clerk Yolanda Cole
                                                   Telephone: (281) 341-4509




                                   Electronic Certified Copy
